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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

In re PAXIL Products Liability Litigation MDL Docket No. 1574

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NOTICE

NOW COME Respondents SmithKline Beecham Corporation, d/b/a GlaxoSmithKline
(“GSK”), and GlaxoSmithKline ple, and respectfully provide the Panel notice of the declaration
by Donald J. Farber in Hopey v. SmithKline Beecham Corporation d/b/a Glaxo SmithKline
Corporation, No. CV-XX-XXXXXXX-S (Conn. Super. Ct.), which is relevant to the proceedings
before the Panel.

In opposition to transfer, GSK established that general causation is not at issue in the

Paxil discontinuation cases’, and all that remains to be litigated is specific causation, which

presents no “common questions of fact.” GSK Mem. in Opp. to Transfer at 3-7; Tr. of .

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' GSK has admitted that for purposes of this litigation it will not contest general Gatisation as

described in its Supplemental Responses to Plaintiffs' Request for Admission ithe Gallego v." :
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November 20, 2003 Hearing at 8-10. One of plaintiffs’ main counsel, Donald J. Farber, has now
confirmed GSK’s argument as true.

Mr. Farber entered an appearance and appears on the plaintiffs’ briefing before the Panel.
He also represents the plaintiffs who filed the motion for transfer, and appears on the pleadings
in ten of the seventeen cases plaintiffs seek to have transferred. Mr. Farber provided a December
3, 2003, declaration in Hopey in support of plaintiff's objection to the court’s November 25,
2003, order transferring the case to Connecticut’s complex litigation docket. In Connecticut, a
court “may designate a group of cases that have many parties and common questions of law or
fact as complex litigation cases .. ..” Conn. Practice Guide § 23-13 (emphasis added).

In opposition to the transfer, plaintiff argued:

[T]he defendant has made moot any factual dispute that Paxil causes withdrawal.

It undisputably does, a fact now admitted by GSK. The past contention on
general causation between Paxil and withdrawal is thus no longer applicable in

any jurisdiction.
Pl. Opp. at 3 (emphasis added) (attached as Exhibit 1). Mr. Farber declared in support that
“GSK concedes general causation on Paxil withdrawal,” “[t]he general causation inquiry ..
_is put to rest in all aspects ....” and “[t]he issue is now history.” Farber Decl. at § 6
(emphasis added) (attached as Exhibit 2) .

These statements conflict irreconcilably with plaintiffs’ representations to the Panel.
Plaintiffs, represented by Mr. Farber, argued to the Panel that “GSK vehemently denies” general
causation, and that “general causation questions clearly are disputed.” Pl. Reply at 5. Mr.

Farber’s co-counsel, Karen Barth, declared that “numerous issues related to general causation are

disputed.” Oct. 24, 2003, Barth Aff. at § 15. Plaintiffs’ counsel and Mr. Farber cannot

 

 

 
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simultaneously represent to this Panel that general causation is in dispute while declaring to the
court in Connecticut that general causation “is put to rest in all aspects.” Nor can Mr. Farber
deny that he is aware of the conflict. Not only does he represent plaintiffs before the Panel, he
cited the November 20, 2003, hearing before the Panel in his declaration in Hopey that general
causation is not at issue. Farber Decl. at ] 6. Plaintiffs are well-aware that general causation is
not at issue, and Mr. Farber has now confirmed it.

Moreover, Mr. Farber apparently agrees that the Paxil cases lack common questions of
fact. Regarding Hopey, Mr. Farber declares, “[t]here are no ‘common issues of fact’” and Mr.
Hopey’s suicide “is an individual event applicable to Mr. Hopey, and totally dissimilar to the
“group of cases’ and ‘many parties’ standards outlined in § 23-13.” Farber Decl. at 6. Of the
“withdrawal cases,” Mr. Farber admits “[t]he only contested issues . . . will be specific
causation regarding individual plaintiffs, and to what extent, if any, GSK officials over the
years covered up the withdrawal problem to prevent public knowledge.” Jd. (emphasis added).
These statements confirm GSK’s assertion that the Paxil cases are inherently individual, and
contradict plaintiffs’ argument to the Panel that the Paxil cases share common questions of fact.

Mr. Farber’s declaration confirms that general causation is not at issue in the Paxil
discontinuation cases and that the cases will turn on highly individualized specific causation
issues. The cases therefore lack common issues of fact. Accordingly, the motion for transfer

should be denied.

Dated: December 10, 2003

 

 

 
 

 

Case MDL No. 1574 Document 15 Filed 12/11/03 Page 4 of 18

Respectfully submitted,

OA: hors 9-U pres

CHILTON D. VARNER
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Atlanta, Georgia 30303-1763
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Attorney for Respondents
SMITHKLINE BEECHAM
CORPORATION

d/b/a GLAXOSMITHKLINE and
GLAXOSMITHKLINE plc

 

 

 
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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

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In re PAXIL Products Liability Litigation ) MDL Docket No. 1574
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CERTIFICATE OF SERVICE

I hereby certify that I have this day served a copy of the Notice upon all counsel of record
by depositing a copy of same in the U.S. mail, sent first-class, postage prepaid, upon the persons

listed in the attached Service List, and by hand-delivery to the Clerk of the Judicial Panel on
Multidistrict Litigation.

This 10 day of December, 2003.

 

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Judicial Panel on Multidistrict Litigation - Panel Attorney Service List Page 1
Docket: 1574 - In re Paxil Products Liability Litigation
Status: Pendingon / /
Transferee District: Judge: Printed on 10/06/2003
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Perkins, Joyce Lockett; Phenix, Les A.*; Pouches, Jeff M.*; Price, Victor*; Propes, Crystal M.®; Reese,
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Note: Please refer to the report title page for complete report scope and key.

 

 
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(Panel Attorney Service List for MDL 1,574 Continued) . Page 2

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Note: Please refer to the report title page for complete report scope and key.

 

 
 

 

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DOCKET NO. CV-XX-XXXXXXX-S : SUPERIOR COURT

ERIN HOPEY, INDIVIDUALLY AND AS : JUDICIAL DISTRICT OF LITCHFIELD
ADMINISTRATRIX OF THE ESTATE OF : AT LITCHFIELD

DOUGLAS BRUCE HOPEY

VS.

SMITHKLINE BE3ECHAM CORPORATION,
dba GLAXO SMITHKLINE CORPORATION : DECEMBER 3, 2003

PLAINTIFF’S OBJECTIONS AND OPPOSITION TO
TRANSFER OF ACTION COMPLEX LITIGATION DOCKET

In an order dated November 25, 2003, the Court ordered the above captioned matter

transferred to the Complex Litigation Docket. The Plaintiff hereby objects to said transfer.

1. Background.
On September 25, 2003, plaintiff and widow Erin Hopey, on behalf of the estate of her

deceased husband Douglas Bruce Hopey and herself individually, filed a wrongful death action
against the defendant SmithKline Beecham Corp., dba Glaxo SmithKline Corp. (“GSK”). No
other defendants were sued. It is alleged defendant’s antidepressant drug, Paxil, caused the
suicide of Mr. Hopey through inadequate labeling of the suicide risks of the product. Negligence,
fraud, and related causes of action in product liability are alleged. On October 23, 2003, citing
Section 23-15 of the Connecticut Practice Book, the defendant requested the case be transferred
to Judge Sferrazza in the Complex Litigation Docket in Tolland. On November 25, 2003, the

court granted defendant’s request, and the case was transferred to the Complex Litigation Docket

in Waterbury.

Opposition to Pending Transfer to Complex Litigation Docket 1

Law Office of Janis K. Malec + 2 Congress Street + Hartford, CT 08114 » FAX 860-241-8224 + 860-241-8222 + Juris No. 413278

 

 

 
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2. The Law.
The jurisdictional basis for complex litigation status is the Connecticut Practice Book
§23-13.

“The chief court administrator or the chief administrative judge of the civil
division may designate a group of cases that have many parties and
common questions of law or fact as complex litigation cases and assign
the cases to assigned judge for pretrial, trial, or both and, if appropriate,
may assign the cases to another judge or court officer for settlement or
mediation discussions." Connecticut Practice Book §23-15.(Emphasis
added).

Section 23-15 of the book delineates the execution of the complex litigation status, in that the

assignment is “pursuant to Section 23-13.”

3. The transfer to “complex litigation” status violates §23-13.

None of the jurisdictional elements required under §23-13 exist to justify transfer of the
case to complex litigation status.

a. First, no “group of cases” exist. In GSK’s moving papers no other cases were
identified that would constitute any “group.” That deficiency—per se—is facial non-compliance
with §23-13 to warrant denial of the request.

b. Moreover, the court’s order is devoid of any sua sponte reference that would
provide a basis for transfer.

c. The “and” requirement of §23-13 bars transfer. The absence of a “group of
cases” combined with the absence of “many parties” renders the first half of the criteria invalid inl
both its components. Even if a common question of law or fact existed with other cases that were

stated, the “and” requirement negates the transfer,

Opposition to Pending Transfer to Complex Litigation Docket 2

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d. As the accompanying declaration of Donald J. Farber indicates, there is an
ongoing Paxil withdrawal case in this judicial district in a complex litigation docket, Shusterman
(et al) v Glaxo SmithKline, CV-XX-XXXXXXX-S. (Farber Declaration, para 6). GSK’s failure to
mention this case in the transfer proposal should be construed as a further admission that the
criteria of 23-13 are lacking. As pointed out in the Farber declaration, the Shusterman case and
its Paxil withdrawal focus is distinctly a different inquiry than the suicide focus of Hopey.

e, There are not “many parties” as §23-13 requires. There is only one plaintiff and
one defendant.

f. There are no “common questions of fact” The operative fact of Hopey is
suicide. Even were defendant to have presented Shusterman in its moving papers, that case
involves exclusively Paxil withdrawal and whether those plaintiffs suffered withdrawal. (Farber
Declaration P3 L4). As Mr. Farber pointed out, the defendant has made moot any factual dispute
that Paxil causes withdrawal. It undisputedly does, a fact now admitted by GSK. (Ibid P3 L14)
The past contention on general causation between Paxil and withdrawal is thus no longer
applicable in any jurisdiction. Specific causation remains an issue in all cases, but that is unique
to Mr. Hopey in this case and thus outside the parameters of §23-13.

g. Neither, technically, are there any “common questions of law.” Plaintiffs use
“technically” for the basic reason that GSK provided no references to “other” cases in its moving
papers. Shusterman would share some “common questions of law” with Hopey in that
defendant’s conduct would arguably be at issue involving the application of punitive damages.

That singular issue, however, is inoperable in applying 23-13.

4. Conclusion.

The facial requirements of 23-13 are clear. It is equally clear that one side of the equation
is entirely missing. Hence there can be no transfer. More than statutory construction, however, it
should be clear from both the moving papers and Mr. Farber’s declaration that this is not a

“complex” case for any judge. All judges, by nature of their experience and qualifications can

Opposition to Pending Transfer to Comptex Litigation Docket 3

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easily dispense with expert testimony and the “learned intermediary doctrine” without difficulty.

Judges do that every day in courtrooms. The tentative order should be withdrawn.

PLAINTIFF

   

Opposition to Pending Transfer to Complex Litigation Docket

Law Office of Janis K. Matec » 2 Congress Street » Hartford, CT 06114 » FAX 860-241-8224 « 860-241-8222 = Juris No. 413278

 

 

 
Case MDL No. 1574 Document 15 Filed 12/11/03 Page 13 of 18

CERTIFICATION

I hereby certify that a copy of the above was mailed postage prepaid on
December 5, 2003 to:

Francis Morrison, III, Esq.
Day, Berry & Howard
CityPlace I

185 Asylum Street
Hartford CT 06103

 

 

 
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DOCKET NO. CV-XX-XXXXXXX-S : SUPERIOR COURT

ERIN HOPEY, INDIVIDUALLY AND AS : JUDICIAL DISTRICT OF LITCHFIELD
ADMINISTRATRIX OF THE ESTATE OF : AT LITCHFIELD

DOUGHLAS BRUCE HOPEY

VS.

SMITHKLINE BE3ECHAM CORPORATION,
dba GLAXO SMITHKLINE CORPORATION : DECEMBER 3, 2003

DECLARATION OF DONALD J. FARBER
IN OPPOSITION TO TRANSFER OF ACTION
TO COMPLEX LITIGATION DOCKET

1. General. My name is Donald J. Farber. I am an attorney at law with my law office at:
Law Office of Donald J. Farber, 175 North Redwood Drive, Suite 130, San Rafael, California
94904, Ph (415) 472-7181, Fax (415) 472-7182, Email: “n3dgt@AOL.com.” I was admitted to
the State Bar of California on December 30, 1993, and have no record of disciplinary infractions
or any allegations of unprofessional conduct. Procedures have been initiated for the undersigned
to request pro hac vice status to represent plaintiff in this action.

2. Purpose: This declaration is submitted to support the opposition of plaintiff to the
proposed transfer of this case to the complex litigation docket.

3. Experience in drug litigation against this defendant. I have been lead or co-counsel in
plaintiffs’ actions against Glaxo SmithKline (“GSK”) in numerous Paxil lawsuits since June, 1999.
These have involved suicide and withdrawal resulting from the alleged failures of the defendant to
warn of the risks associated with Paxil. Since 1999, I have represented approximately thirty (30)
claimants regarding the suicide issue and approximately 2000-3000 regarding the withdrawal

issue. I consider myself familiar with both the defendant company and the drug. I have visited

Declaration of Donald J. Farber to Oppose Xfer to Complex Litigation Docket 1

 

 
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Glaxo headquarters on three (3) occasions to examine documents and have deposed several GSK
officials over this period. I have also deposed two former FDA psychiatrists responsible for
Paxil’s in 1993. Currently, I am plaintiffs’ co counsel in approximately fifteen (15) ongoing
lawsuits across the country regarding Paxil withdrawal. In this regard I call attention to the
Connecticut case of “Shusterman (et al) v GlaxoSmithKline (et al)”(CV-XX-XXXXXXX-S) in the
complex litigation docket at Norwich (e.g. Attachment (3)), which I address below.

4. History of GSK in requesting “complex” litigation status. It is my experience that
GSK requests “complex litigation” status (or equivalent) regardless of rules and regulations
applying to such status in the respective courts. It is my opinion GSK likely does so to frustrate
the administration of justice for plaintiffs, and to inject procedural barriers and delays in order to
discourage present and would be plaintiffs from continuing litigation and/or to initiate actions in
the first instance. For the court’s consideration, in addition to Shusterman (et al) I attach two
recent examples of such GSK initiatives. Attachment (1) is GSK’s 11/19/01 filing in “Nguyen &
Farber v SmithKline Beecham” CV791998 in Santa Clara County, California. Attachment (2) is
GSK’s 5/23/02 filing in “Gallego (et al) v SmithKline Beecham” BC267002 in Los Angeles
County, California.

5. Inconsistencies of defendant. I respectfully point out that GSK’s argument in
Attachment (1) for assigning a single judge to address the scientific issues was that “the most
economic and efficient procedure would be to assign this case to a particular judge for all
purposes, especially since this will be a court — not a jury—trial.” (Page 3 lines 9-10 of
Attachment (1)). Given the equitable nature of the lawsuit, plaintiffs were not entitled to a jury.
It ts thus apparent GSK chose that issue—simply because it existed—to justify its tactic. I further
respectfully point out GSK’s similar tactic in Attachment (2). Using the term “complex
pharmaceutical product liability action,” GSK attaches itself to the ten (10) separate jurisdictions
of the then plaintiffs (Page 2 lines 12-13 of Attachment (2)), and the wide diversity of symptoms
among all the different plaintiffs (“each plaintiff's case will involve different issues of liability,
causation, and damages. This case will also involve choice of law issues and application of the
laws of different states.”) (Ibid, lines 20-22). That commentary addressed the “many parties”
criterion of Section 23-13, but clearly that criterion is lacking in Hopey. That argument

notwithstanding, Judge Freeman made no such finding that “Gallego” satisfied the “exceptional

 

Declaration of Donald J. Farber to Oppose Xfer to Complex Litigation Docket 2

 

 
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case” standard under Local Rule 7.6(3), and he did not defer disposition “for at least two years”
as GSK had requested in that filing. (Ibid lines 1-6). I am personally familiar with all attachments
in the indicated actions, and that they were originated by the defendant.

6. Other Connecticut Case and “Paxil Withdrawal.” The “Shusterman” case is currently
a Paxil “withdrawal” case in the complex litigation docket at Norwich, of which I am a counsel of
record. (See Attachment (3), e.g. “Shusterman (et al) v Glaxo SmithKline, Docket No. CV-02-
0819347-S)). I note that GSK in its moving papers for this docket did not inform the court of
Shusterman, as a case invoking the “group of cases” standard in Connecticut Practice Guide
Section 23-13 might be expected to do to satisfy the legal standard for “complex litigation.” I
address Shusterman, nonetheless, because it is one component of a broader picture of the Paxil
litigation than is contained in defendant’s moving papers. This case (Hopey) is distinctly different
from Shusterman. While the Paxil “withdrawal” issue presents itself in all the cases, no longer is
it in doubt that Paxil causes “withdrawal” in patients abruptly quitting the drug or tapering dosage
downward. GSK, suggesting in its moving papers that “complex” and “scientific” issues exist,
admitted in the Los Angeles (“Gallego”) case, and more recently (November 20, 2003) in a
multidistrict litigation (MDL) hearing in U.S. District Court, San Antonio, Texas, that Paxil
causes withdrawal (which they call “discontinuation”) for patients who attempt to abruptly
terminate or even taper down dosage of the drug. (see Attachment (4)). Obviously, this is not
an admission that GSK wishes the courts throughout the nation that are considering the issue to
be quickly aware of. In presenting its “complex litigation” proposal without amplifying
commentary, GSK impliedly suggests its “scientific” and “complex” matters include the whole
host of “withdrawal” issues that have been subject to extensive discovery and litigation the past
three (3) years. The issue is now history. While considerable, contentious discovery ensued over
the past three (3) years on Paxil withdrawal, including a “Motion to Compel” that I brought,
which was granted by Judge Freeman in Los Angeles, GSK concedes general causation on Paxil
withdrawal (e.g. Attachment 4, P5 L5, P6 L17, P8 L3, P9 L16, P11 L3, P12 L17, P13 L16, P15
L7, P16 L17, P17 L23, P18 L19, P30 L3, P31 L2, P32 L12, P33 L24, P35 L4, P36 L13, P37
L22, P39 L4, P40 L13, P41 L22, P43 L4, P44 L13, P45 L22, P47 L4, P48 L13, P49 L18, P50
L19, P51 L21, P52 L22, P53 L23, P54 L24, P55 L25, P56 L26, P57 L27, P60 L1, P61 L4, P62
L6, P63 L7_ While Hopey will entail expert testimony, it requires no “complex” expert or

Declaration of Donald J. Farber to Oppose Xfer to Complex Litigation Docket 3

 

 

 
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Case MDL No. 1574 Document 15 Filed 12/11/03 Page 18 of 18

scientific involvement, which is defined by § 23-13. The general causation inquiry, e.g. “can Paxil
cause withdrawal (“discontinuation”)?” is put to rest in all aspects by GSK numerous admissions
in Attachment (4). The only contested issues in the withdrawal cases will be specific causation
regarding individual plaintiffs, and to what extent, if any, GSK officials over the years covered up
the withdrawal problem to prevent public knowledge. For this (Hopey) docket, the distinct issue
is suicide. It is an individual event applicable to Mr. Hopey, and totally dissimilar to the “group of
cases” and “many parties” standards outlined in § 23-13.

7. Under penalty of perjury. The above is submitted under penalty of perjury of the laws
of the United States of America, and that the above is based on the undersigned’s personal
knowledge or, where indicated, information and belief. This document is executed in the City of

San Rafael, California, on the below date.

Cea Up fa elt 7 —

Donald J. Farber .
Declarant Donald 5.
Altorney at Law

State Bar No. 16883”

Date: DEC 0 3 2003

 

Attached & Incorporated Exhibits:
(1) Glaxo SmithKline’s “Memorandum of Points & Authorities” in Case CV791998, Santa Clara

County, California

(2) Glaxo SmithKline’s “Case Management Plan” in Case BC267002, Los Angeles County,
California

(3) Glaxo SmithKline’s “Application for... Complex Litigation Docket” in Shusterman Docket
No. CV-XX-XXXXXXX-S.

(4) Glaxo SmithKline’s Admissions in “Gallego (et al) v Glaxo SmithKline” Case BC267002, Los
Angeles County, California

Declaration of Donald J. Farber to Oppose Xfer to Complex Litigation Docket 4

 

 

 
